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                               UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW JERSEY
                                               (973) 776-7700
             CHAMBERS OF                                                               U.S. COURTHOUSE
     JAMES B. CLARK, III                                                         50 WALNUT STREET, ROOM 2060
 UNITED STATES MAGISTRATE JUDGE                                                        NEWARK, NJ 07102



                                           October 10, 2023

                                          LETTER ORDER


     Re:      In re Celgene Corporation, Inc. Securities Litigation
              Civil Action No. 18-4772 (MEF)

     Dear Counsel:

     As discussed during the telephone conference held in this matter earlier today, the Court orders

 the following:

     1) The parties shall submit a new proposed order with a schedule for their pending motion

           and any agreement reached concerning the pretrial order by October 17, 2023.

     2) The Court will conduct a telephone status conference with the parties on January 9, 2024

           at 11:30 A.M. Counsel for Defendant shall initiate the call.


     IT IS SO ORDERED.



                                                          s/ James B. Clark, III
                                                        JAMES B. CLARK, III
                                                        United States Magistrate Judge
